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 8   official capacity as California Attorney General

 9
                             IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12

13   EASTON STOKES,                                      Case No. 3:19-cv-04613-WHA

14                                       Plaintiff, DEFENDANT CALIFORNIA
                                                    ATTORNEY GENERAL ROB BONTA’S
15                  v.                              NOTICE OF MOTION; MOTION FOR
                                                    SUMMARY JUDGMENT; POINTS OF
16                                                  AUTHORITIES IN SUPPORT OF
     THE UNITED STATES DEPARTMENT                   MOTION FOR SUMMARY JUDGMENT
17   OF JUSTICE, WILLIAM BARR,
     individually and as Attorney General of the Date:            June 3, 2021
18   United States, THE U.S. BUREAU OF              Time:         2:00 p.m.
     ALCOHOL, TOBACCO, FIREARMS AND Courtroom: Remote
19   EXPLOSIVES (ATF); REGINA                       Judge:        Hon. William Alsup
     LOMBARDO individually and as Acting            Trial Date:   December 7, 2020
20   Director of ATF; THE FEDERAL                   Action Filed: August 12, 2019
     BUREAU OF INVESTIGATION;
21   Christopher Wray individually and as
     Director of the Federal Bureau of
22   Investigation; STATE OF CALIFORNIA,
     ROB BONTA 1, individually and acting as
23   Attorney General of the State of California,
     THE SONOMA COUNTY SHERIFF'S
24   OFFICE, MARK ESSICK, individually and
     as Sheriff of Sonoma County,
25
                                         Defendants.
26

27
            1
             Attorney General Rob Bonta is hereby substituted for former Attorney General Xavier
28   Becerra. See Fed. R. Civ. P. 25(d).
                           Defendant Attorney General Rob Bonta’s Notice of Motion; Mot. for Summary Judgment;
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 1         TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 2         PLEASE TAKE NOTICE that on June 2, 2021 at 2:00 p.m., or as soon thereafter as the

 3   matter may be heard before the Honorable William Alsup, Defendant California Attorney General

 4   Rob Bonta will and hereby does move under Rule 56 of the Federal Rules of Civil Procedure for

 5   an order granting summary judgment in favor of the California Attorney General. This motion is

 6   based on this Notice of Motion and Motion, the accompanying Memorandum of Points and

 7   Authorities, all pleadings and papers on file in this action, and such other matters as may properly

 8   come before the Court.

 9         Attorney General Bonta’s motion is made on the grounds that (1) this suit against the

10   California Attorney General is barred by the Eleventh Amendment, and (2) Plaintiff fails to

11   establish a case or controversy against the California Attorney General as required for Article III

12   jurisdiction.

13
     Dated: April 29, 2021                                  Respectfully submitted,
14
                                                            ROB BONTA
15                                                          Attorney General of California
                                                            ANTHONY R. HAKL
16                                                          Supervising Deputy Attorney General
17
                                                                  /s/ Jerry T. Yen
18                                                          JERRY T. YEN
                                                            Deputy Attorney General
19                                                          Attorneys for State of California and Rob
                                                            Bonta, in his official capacity as California
20                                                          Attorney General
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                                             INTRODUCTION

 3           A person who has been held and certified for involuntary treatment under California

 4   Welfare & Institutions Code § 5250 (a “5250 hold”) generally is prohibited under federal law

 5   from purchasing or possessing firearms. More specifically, federal law (18 U.S.C. § 922(g)(4))

 6   prohibits any person “who has been adjudicated as a mental defective or who has been committed

 7   to a mental institution” from doing so.

 8           Plaintiff Easton Stokes, who has been subject to a 5250 hold, asks this Court to declare that

 9   18 U.S.C. § 922(g)(4) violates his constitutional rights. However, the Complaint does not request

10   any relief from the California Attorney General. Although the California Department of Justice

11   (CA DOJ) runs federal background checks for individuals seeking to purchase or possess a

12   firearm in California, it does not have any connection to any prohibition imposed by operation of

13   federal law, including the federal statute at issue in this case, sufficient for Plaintiff to maintain a

14   suit against the California Attorney General. Moreover, the CA DOJ is not responsible for the

15   content of Plaintiff’s mental health records, and is in no position to alter those records so that

16   Plaintiff might be able to possess a firearm under federal law. Thus, this suit against the

17   California Attorney General is barred by the Eleventh Amendment and Plaintiff lacks Article III

18   standing to bring this suit with respect to the California Attorney General.

19                        STATUTORY AND PROCEDURAL BACKGROUND

20   I.      PROCESS FOR INVOLUNTARY COMMITMENT UNDER CALIFORNIA WELFARE &
             INSTITUTIONS CODE SECTION 5250
21
             The California Legislature enacted the Lanterman-Petris-Short (LPS) Act to, among other
22
     things, “safeguard individual rights through judicial review.” Cal. Welf. & Inst. Code § 5001.
23
     Relevant to this case, the LPS Act sets forth a process for the involuntary evaluation and
24
     treatment of persons with mental health disorders and limits involuntary commitment to
25
     successive periods of increasingly longer duration. See id. § 5150 et seq.; see also Julian v.
26
     Mission Community Hospital, 11 Cal. App. 5th 360, 375 (Cal. Ct. App. 2017). In particular, the
27
     LPS Act provides for an initial 72-hour detention period (“5150 hold”). Cal. Welf. & Inst. Code
28
                                                         1
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 1   § 5150. At the end of that period, the person must be released unless the person consents to

 2   voluntary treatment or the mental health facility certifies the person for up to 14 days of

 3   involuntary treatment. Id. § 5152; see also In Re Azzarella, 207 Cal. App. 3d 1240, 1245 (Cal.

 4   Ct. App. 1989).

 5         A person may be certified for this additional treatment period if (1) the professional staff at

 6   the mental health facility conducts an evaluation and finds that the person is a danger to himself

 7   or others, or is gravely disabled, as a result of a mental health disorder, (2) the mental health

 8   facility has been designated by the county to provide intensive treatment and agrees to treat the

 9   patient, and (3) the person is unwilling or unable to accept treatment after being advised of the

10   need for treatment. Cal. Welf. & Inst. Code § 5250; see also In Re Azzarella, 207 Cal. App. 3d

11   at 1245. If the criteria are met, two mental health professionals must sign a notice of certification

12   and serve it on the person certified. Cal. Welf. & Inst. Code §§ 5251-5253. As soon as

13   practicable after certification, the patient must meet with an attorney or patient advocate, who will

14   explain the commitment process, answer questions, and help prepare for the certification review

15   hearing. Id. § 5255. The patient must also be informed of the right to counsel and the right to

16   challenge the commitment at the certification review hearing or through a judicial review by

17   habeas corpus. Id. §§ 5254, 5254.1, 5275, and 5276.

18         Unless the patient requests judicial review, the certification review hearing must be held

19   within four days after certification. Id. § 5256. A certification review hearing officer 2 conducts

20   the hearing where the patient has the right to counsel as well as the right call and cross-examine

21   witnesses. Id. §§ 5256.1 and 5256.4. The patient must be released immediately if the hearing

22   officer does not find probable cause that the patient is a danger to himself or others, or is gravely

23   disabled, as a result of a mental health disorder. Id. §§ 5256.5 and 5256.6.

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            2
              The certification review hearing officer is “selected from a list of eligible persons
27   unanimously approved by a panel composed of the local mental health director, the county public
     defender, and the county counsel or district attorney designated by the county board of
28   supervisors.” Id. § 5256.1.
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 1   II.   PROCESS FOR MENTAL HEALTH FACILITY REPORTING A 5250 HOLD TO THE CA
           DOJ
 2
           Within 24 hours of certifying a person for treatment under California Welfare & Institutions
 3
     Code § 5250, the mental health facility must notify the CA DOJ. Id. § 8103(g)(2). Mental health
 4
     facilities currently submit this notification through the CA DOJ’s online Mental Health Firearms
 5
     Prohibition System. 3 Gilbert Mac Decl. ¶ 11. The facility must submit its name and telephone
 6
     number as well as identifying information about the person subject to the 5250 hold, including the
 7
     person’s name, date of birth, gender, ethnicity, medical number, and date of admission or
 8
     certification. Id. ¶ 12. The facility may also include other information about the patient, such as
 9
     height, weight, eye color, hair color, social security number, and California driver license number.
10
     Id. The information received from the mental health facility is then transferred to a federal
11
     database, the National Instant Criminal Background System (NICS). Id. ¶ 5.
12
           The CA DOJ does not participate in the certification or treatment of a person subject to a
13
     5250 hold. Id. ¶ 8. As a result, the CA DOJ does not evaluate records submitted by mental health
14
     facilities for errors. Id. ¶ 14. Anyone who believes that a mental health facility has entered
15
     erroneous information into the Mental Health Firearms Prohibition System may address their
16
     concern with the facility. Id. ¶ 15. If a mental health facility has submitted incorrect or erroneous
17
     information, the facility can notify the CA DOJ and have the information corrected. Id.
18
     III. FIREARMS BACKGROUND CHECKS IN CALIFORNIA
19
           A person who wants to purchase or otherwise take possession of a firearm in California
20
     must pass a background check that relies on several state databases as well as NICS. Cal. Penal
21
     Code § 28220. The CA DOJ is responsible for running these background checks. Id. Federal
22
     and state law rely on these background checks to prevent prohibited persons from obtaining
23
     firearms. 18 U.S.C. § 922(t)(1); Cal. Penal Code § 28220. Federal law authorizes states to
24
     administer the federal background check process, in lieu of the Federal Bureau of Investigation, if
25
     they do so concurrently with their own background check process. See 18 U.S.C. § 922(t)(3);
26
     28 C.F.R. § 25.6. States that elect this procedure are called “point of contact” states. 28 C.F.R.
27
            3
             Any paper records received prior to July 2012 were entered into the system and the
28   hardcopies were not retained. Mac Decl. ¶ 11.
                                                    3
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 1   § 25.5. California has long served as a point of contact state, and, since the enactment of

 2   Proposition 16 in 2016, the CA DOJ has been required to serve as one. Cal. Penal Code

 3   § 28220(b).

 4                                      FACTUAL BACKGROUND
 5         In March 2002, Plaintiff was brought to the emergency room at Kaiser by his foster parents

 6   for “abnormal behavior,” as well as “depressed and dangerous behavior.” Exhibit A (ECF No.

 7   79-1 at 10). The emergency room doctor also noted that Plaintiff’s foster parents felt that he was

 8   a “danger to self them and his friends” and was “not cooperative with [his] history.” Id. Another

 9   doctor’s handwritten notes from Plaintiff’s Psychiatric Diagnostic Intake Evaluation stated that

10   Plaintiff had “hit a close friend” and “refused to discuss [the] details.” Exhibit B (ECF No. 79 at

11   1). The notes from his Chemical Dependency Services Intake Summary say that he “put his

12   hands in a fire” and “punched his [] friend.” Id. at 7. Those notes also state that Plaintiff was

13   “suspicious” of his treatment plan. Id. at 10. He was then placed on a 5150 hold and transported

14   to a local mental health treatment facility, Oakcrest. See Complaint, August 12, 2019, ECF No. 1,

15   ¶ 25 and Exhibit 3 (Declaration of Easton Stokes), at ¶ 3; Exhibit C (Nov. 20, 2020 Deposition of

16   Easton Stokes (“Stokes Depo”) at 106. At some point, he was placed on a 5250 hold and

17   received treatment at Oakcrest for a total of 16 days. See Compl., ¶¶ 25-26. During his

18   treatment, Plaintiff knew of his right to request a court hearing in order to be released from the

19   mental health facility, but chose not to exercise that right. See Compl., ¶ 25; Exhibit C (Stokes

20   Depo.) at 121-122.

21         Almost fourteen years later, in 2016, Mr. Stokes submitted a Personal Firearms Eligibility

22   Check to the CA DOJ. Compl., ¶ 30 and Exhibit 3 (Declaration of Easton Stokes), at ¶ 7. After

23   running a background check, the CA DOJ informed Mr. Stokes that he was ineligible to possess

24   or purchase a firearm. Id.; see also id. at Exhibit 1 (Firearms Eligibility Notification). Although

25   Mr. Stokes is eligible to possess a firearm under California law, 4 he is ineligible under federal law

26          4
               Under California law, Plaintiff is permitted to possess a firearm because it has been more
     than five years since he was subject to the 5250 hold. Cal. Welf. & Inst. Code § 8103(g)(1) (“No
27   person who has been certified for intensive treatment under Section 5250 . . . shall own, possess,
     control, receive, or purchase, or attempt to own, possess, control, receive, or purchase, any
28   firearm for a period of five years”).
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 1   because of the 5250 hold in his NICS record. Exhibit D (Easton Stokes NICS Record); 18 U.S.C.

 2   § 922(g)(4).

 3                                           LEGAL STANDARD
 4         A court must grant summary judgment in favor of a moving party that shows there is no

 5   genuine dispute as to any material fact and that it is entitled to judgment as a matter of law. Fed.

 6   R. Civ. P. 56(a); Adickes v. S.H. Kress & Co., 398 U.S. 144, 153 (1970). The moving party is

 7   entitled to judgment as a matter of law when the nonmoving party fails to make a sufficient

 8   showing on an essential element of a claim in the case on which the nonmoving party has the

 9   burden of proof. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). There is no genuine issue

10   of fact for trial where the record, taken as a whole, could not lead a rational trier of fact to find for

11   the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

12   (1986) (nonmoving party must present specific, significant probative evidence, not simply “some

13   metaphysical doubt”); see also Fed. R. Civ. P. 56(d). Conversely, a genuine dispute over a

14   material fact exists if there is sufficient evidence supporting the claimed factual dispute, requiring

15   a judge or jury to resolve the differing versions of the truth. Anderson v. Liberty Lobby, Inc., 477

16   U.S. 242, 253, (1986); T.W. Elec. Serv. Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630

17   (9th Cir. 1987).

18                                               ARGUMENT
19   I.    ATTORNEY GENERAL BONTA IS IMMUNE FROM SUIT UNDER THE ELEVENTH
           AMENDMENT
20
           This suit against Attorney General Bonta is barred by the Eleventh Amendment of the
21
     United States Constitution as a matter of law. The Eleventh Amendment prohibits federal courts
22
     from hearing suits brought by private citizens “against state agencies regardless of the nature of
23
     the relief sought.” Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 100 (1984); see
24
     also Natural Resources Defense Council v. Cal. Dept. of Transp. 96 F.3d 420, 421 (9th Cir.
25
     1996).
26
           The Supreme Court recognized a limited exception to Eleventh Amendment immunity in
27
     Ex parte Young, 209 U.S. 123 (1908). The Ex parte Young exception allows “suits for
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                                                        5
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 1   prospective declaratory and injunctive relief against state officers, sued in their official capacities,

 2   to enjoin an alleged ongoing violation of federal law.” Wilbur v. Locke, 423 F.3d 1101,1111 (9th

 3   Cir. 2005) (quoting Agua Caliente Band of Cahuilla Indians v. Hardin, 223 F.3d 1041, 1045 (9th

 4   Cir. 2000)). However, for the Ex parte Young exception to apply the state officer “must have

 5   some connection with the enforcement of the act, or else it is merely making him a party as a

 6   representative of the State, and thereby attempting to make the State a party.” Snoeck v. Brussa,

 7   153 F.3d 984, 986 (9th Cir. 1998) (quoting Ex parte Young, 209 U.S. at 157). “This connection

 8   must be fairly direct; a generalized duty to enforce state law or general supervisory power over

 9   the persons responsible for enforcing the challenged provision will not subject an official to suit.”

10   L.A. County Bar Ass 'n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992) (citing Long v. Van de Kamp, 961

11   F.2d 151, 152 (9th Cir. 1992); L.A. Branch NAACP v. L.A. Unified Sch. Dist., 714 F.2d 946, 953

12   (9th Cir. 1983)).

13         Here, the California Attorney General is named as a defendant simply because Plaintiff

14   generally alleges that he “is presently enforcing the laws, customs, practices, and policies

15   complained of in this action.” Compl., ¶ 15. Nothing more than this generalized allegation is set

16   forth in the complaint. Such an allegation is insufficient to overcome Eleventh Amendment

17   immunity.

18         In directing the district court to dismiss the California Attorney General on Eleventh

19   Amendment grounds, the Ninth Circuit has stated that “there must be a connection between the

20   official sued and enforcement of the allegedly unconstitutional statute, and there must be a threat

21   of enforcement.” Long, 961 F.2d at 152. No such connection exists in this case. Attorney

22   General Bonta simply lacks the requisite enforcement connection to the allegedly unconstitutional

23   federal statute nor does he have any authority over whether a mental health facility imposes a

24   5250 hold. See Carnohan v. United States, 296 Fed. Appx. 603 (9th Cir. Oct. 20, 2008)

25   (affirming the dismissal of the State of California under the Eleventh Amendment where the

26   plaintiff sued the State under the Federal Tort Claims Act for denial of permission to purchase a

27   handgun due to his commitment to a mental health facility). Thus, Plaintiff cannot show that the

28
                                                        6
                            Defendant Attorney General Rob Bonta’s Notice of Motion; Mot. for Summary Judgment;
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 1   Ex parte Young exception applies, and the Eleventh Amendment bars Plaintiff from suing the

 2   California Attorney General.

 3         In a case with almost identical facts to this one, the Eastern District of California granted

 4   the California Attorney General’s motion to dismiss because the Eleventh Amendment barred the

 5   plaintiff’s claims against the California Attorney General. Pervez v. Becerra, Case No. 2:18-cv-

 6   02793-KJM-KJN, 2019 WL 2715621 (E.D. Cal. June 28, 2019). Like Plaintiff in this case, the

 7   plaintiff in Pervez was subject to a 5250 hold and was thus prohibited from owning a firearm

 8   under federal law. Id. at *1. She filed a complaint requesting an order that the CA DOJ erase,

 9   amend, or remove all records of her 5250 hold. Id. at *2. The court, however, found that the Ex

10   parte Young exception did not apply because the CA DOJ does not direct or control the mental

11   health facilities responsible for the imposition of a 5250 hold, and that the role of the CA DOJ is

12   purely administrative. Id. at *5. Without a direct connection to the 5250 determination, the court

13   concluded that the Eleventh Amendment barred the plaintiff’s claims against the California

14   Attorney General. Id. at *6. This Court should reach the same conclusion here, and grant

15   summary judgment in favor of Attorney General Bonta.

16   II.   NO JUSTICIABLE CONTROVERSY EXISTS BETWEEN PLAINTIFF AND ATTORNEY
           GENERAL BONTA
17
           Attorney General Bonta also moves for summary judgment because Plaintiff lacks Article
18
     III standing. As an initial matter, any standing analysis is unnecessary in the event the Court were
19
     to find this suit barred by the Eleventh Amendment. See Snoeck, 153 F.3d at 988 (“Because the
20
     Eleventh Amendment bar conclusively ends this dispute we need not address the related issue of
21
     standing which the district court found plaintiffs lacked.”); L.A. Branch NAACP, 714 F.2d at 949
22
     n.3 (“We need not ask the district court on remand to find whether these powers and duties are
23
     sufficient to raise a justiciable case or controversy against the Governor in this case, however,
24
     since we hold below that he is immune from suit here under the Eleventh Amendment.”)
25
           Assuming the court reaches the Article III standing issue, Plaintiff must establish the
26
     existence of a “case or controversy” between him and the California Attorney General. See
27
     ACLU of Nev. v. Masto, 670 F.3d 1046, 1061–62 (9th Cir. 2012); Foster v. Carson, 347 F.3d 742,
28
                                                        7
                            Defendant Attorney General Rob Bonta’s Notice of Motion; Mot. for Summary Judgment;
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 1   745 (9th Cir. 2003). Among other things, this requires a causal connection between plaintiff's

 2   injury and the defendant’s actions. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

 3         Here, Plaintiff cannot show that the CA DOJ affirmatively, or by improper omission, took

 4   any unlawful action to harm him. In other words, there is no causal connection between

 5   Plaintiff’s injury (inability to possess a firearm) and any unlawful conduct by the CA DOJ. See

 6   Simon v. Eastern Kentucky Welfare Rights Organization, 426 U.S. 26, 38 (1976) (Plaintiffs

 7   lacked standing to challenge the IRS ruling because they could not show that their alleged injury,

 8   a denial of medical services, was traceable to the IRS ruling, rather than to the hospitals’

 9   independent action). It is the federal government applying a federal statute that is preventing

10   Plaintiff from acquiring a firearm. 5

11         The CA DOJ’s role merely involves receiving information from medical facilities about

12   someone being placed under a 5250 hold, and then providing that information to the federal

13   government. See Mac Decl. ¶¶ 5, 11- 12; see also Cal. Penal Code § 28220(b) (“The Department

14   of Justice shall participate in the National Instant Criminal Background Check System (NICS), as

15   described in subsection (t) of Section 922 of Title 18 of the United States Code”). As discussed

16   earlier, the CA DOJ does not create such information (it was created by the mental health

17   facility), and is not authorized to modify or disregard it. Even though Plaintiff may disagree with

18   the propriety of his section 5250 hold, that disagreement has no connection to the CA DOJ and

19          5
               The Court expressed interest in whether a 5250 hold qualifies as a “commitment” for
     purposes of 18 U.S.C. § 922(g)(4), and whether Plaintiff has been denied equal protection of the
20   laws because he does not have an opportunity to demonstrate his current fitness to possess
     firearms. April 14, 2021 Order, ECF No. 87. The California Attorney General defers to the
21   Federal Defendants on these issues because they involve a question of federal law, and thus the
     Federal Defendants are in the best position to address the issues. However, the California
22   Attorney General notes that, as described above, when a person is certified for a 5250 hold, a
     certification review hearing must be held. Cal. Welf. & Inst. Code § 5256. Further, Plaintiff had
23   an opportunity to request a hearing in order to challenge his 5250 hold and chose not to do so.
     See Compl., ¶ 25; Exhibit C (Stokes Depo.) at 121-122. As for any alleged denial of equal
24   protection, the California Attorney General notes that this case does not involve a suspect
     classification and thus rational basis review applies. See Nordyke v. King, 681 F.3d 1041, 1043
25   n.2 (9th Cir. 2012) (en banc) (stating that rational basis scrutiny applies to the plaintiffs’ equal
     protection claim when the challenged law is found not to violate the First or Second Amendment
26   and the law does not involve a suspect classification). Here, the rational basis standard would be
     met because the purpose of 18 U.S.C. § 922(g)(4) is related to a legitimate government interest.
27   See Mai v. United States, 952 F.3d 1106, 1116 (9th Cir. 2020) (agreeing that preventing crime
     and suicide are legitimate interests supporting 18 U.S.C. § 922(g)(4)).
28
                                                        8
                            Defendant Attorney General Rob Bonta’s Notice of Motion; Mot. for Summary Judgment;
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 1   instead should be directed to the mental health facility. 6 See Mac Decl. ¶¶ 14-15. Moreover, if

 2   Plaintiff were to prevail in his constitutional challenge to federal law, he would receive full relief

 3   through the issuance of an injunction against the federal government. In sum, Plaintiff lacks

 4   standing to bring suit against Attorney General Bonta because no case or controversy exists with

 5   respect to the California Attorney General.

 6                                               CONCLUSION
 7          The Eleventh Amendment bars Plaintiff from bringing this suit against the California

 8   Attorney General. Moreover, Plaintiff lacks Article III standing because there is no controversy

 9   between Plaintiff and the California Attorney General. Accordingly, Attorney General Bonta

10   respectfully requests that the Court grant this motion for summary judgment.

11

12   Dated: April 29, 2021                                    Respectfully Submitted,
13                                                            ROB BONTA
                                                              Attorney General of California
14                                                            ANTHONY R. HAKL
                                                              Supervising Deputy Attorney General
15

16

17                                                                  /s/ Jerry T. Yen
                                                              JERRY T. YEN
18                                                            Deputy Attorney General
                                                              Attorneys for State of California and Rob
19                                                            Bonta, in his official capacity as California
                                                              Attorney General
20
     SA2019104336/35053592
21

22

23

24

25
             6
               Plaintiff filed a petition on November 4, 2020, in Sonoma County Superior Court
26   challenging his 5250 hold. See Plaintiff’s Response to October 22nd Order, ECF No. 73 (Nov. 5,
     2020) at 40-60. Pursuant to the Court’s order (ECF No. 68), the California Attorney General
27   advised Plaintiff that he did not wish to participate in the state court action. Although it appears
     that the California Attorney General has been named as a defendant in that action (ECF No. 73 at
28   40), the California Attorney General has not been served yet with the complaint and summons.
                                                        9
                             Defendant Attorney General Rob Bonta’s Notice of Motion; Mot. for Summary Judgment;
                                           P. & A. in Support of Mot. for Summary Judgment (3:19-cv-04613-WHA)
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                   In The Matter Of:
                     Easton Stokes v.
        United States Department of Justice, et al.




                        Easton Stokes
                      November 20, 2020




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 1                UNITED STATES DISTRICT COURT                          1   APPEARANCES OF COUNSEL:
 2               NORTHERN DISTRICT OF CALIFORNIA                        2   FOR THE PLAINTIFF EASTON STOKES:
 3                     SAN FRANCISCO DIVISION                           3          LAW OFFICES OF TIMOTHY KELLY
 4                                                                      4          BY:   TIMOTHY KELLY, ATTORNEY AT LAW
 5    - - - - - - - - - - - - - -                                       5                (VIA VIDEOCONFERENCE)
 6   EASTON STOKES,                 )                                   6          1403 Spyglass Parkway
 7                 Plaintiff,       )   CASE NO.                        7          Vallejo, California 94591
 8   vs.                            )   3:19-CV-04613 WHA               8          Telephone:   (707) 570-7507
 9   UNITED STATES DEPARTMENT       )                                   9          Email:   tskelliot@gmail.com
10   OF JUSTICE, et al.,            )                                  10
11            Defendants.           )                                  11   FOR THE FEDERAL DEFENDANTS:
12    - - - - - - - - - - - - - -                                      12          UNITED STATES ATTORNEY'S OFFICE
13                                                                     13          BY:   JULIE DAVIS, ASSISTANT U.S. ATTORNEY
14                                                                     14                ERIC SOSKIN, ASSISTANT U.S. ATTORNEY
15                                                                     15                (VIA VIDEOCONFERENCE)
16             REMOTE DEPOSITION OF EASTON STOKES                      16          1301 Clay Street, Suite 340-S
17                    FRIDAY, NOVEMBER 20, 2020                        17          Oakland, California 94612
18                                                                     18          Telephone:   (510) 637-3701
19                                                                     19          Email:   julie.davis@usdoj.gov
20                                                                     20                   eric.soskin@usdoj.gov
21                      BEHMKE REPORTING AND VIDEO SERVICES, INC.      21
22      BY: ANGELA SINCLAIR, RMR, RPR, CRR, CCRR, CSR NO. 13902        22
23                                      455 MARKET STREET, SUITE 970   23
24                                SAN FRANCISCO, CALIFORNIA 94105      24
25                                                   (415) 597-5600    25

                                                              Page 2                                                             Page 4
                                                                        1   APPEARANCES OF COUNSEL - (CONTINUED):
 1
                                                                        2   FOR THE STATE DEFENDANTS:
 2
                                                                        3          DEPARTMENT OF JUSTICE
 3
                                                                        4          OFFICE OF THE ATTORNEY GENERAL
 4
                                                                        5          BY:   JERRY YEN, DEPUTY ATTORNEY GENERAL
 5
 6                                                                      6          1300 I Street

 7                                                                      7          Sacramento, California 95814

 8         Remote Deposition of EASTON STOKES located in
                                                                        8          Telephone:   (916) 210-7836

 9   Santa Rosa, California, taken on behalf of Federal                 9          Email:   jerry.yen@doj.ca.gov

10   Defendants via Zoom videoconference, with the                     10
11   witness in Santa Rosa, California, commencing at                  11
12   9:02 A.M., FRIDAY, NOVEMBER 20, 2020, before Angela               12
13   Sinclair, Certified Shorthand Reporter No. 13902,                 13
14   pursuant to Notice of Deposition.                                 14
15                                                                     15
16                                                                     16
17                                                                     17
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 3    EASTON STOKES                                PAGE
                                                                3                 EASTON STOKES,
 4      Examination by MS. DAVIS                       7
                                                                4              affirmed as a witness,
 5    P.M. SESSION                                   125
                                                                5              testified as follows:
 6      Examination resumed by MS. DAVIS             125
                                                                6         MS. DAVIS: Thank you, Madam Court Reporter.
 7      Examination by MR. YEN                       126
                                                                7   And thank you for appearing here today.
 8                                                              8         There's one housekeeping matter I want to get
 9                                                              9   on the record before we get started. I just want to
10                                                             10   make sure that all the attorneys agree that this
11                                                             11   deposition is a remote deposition and can be used for
12                                                             12   all purposes for in-person deposition under the federal
13                               -oOo-                         13   rules. Do you stipulate?
14                                                             14         MR. KELLY: Yes, so stipulated.
15                                                             15         MS. DAVIS: Jerry?
16                                                             16         MR. YEN: Yes, I do.
17                                                             17         MS. DAVIS: Okay. Thank you.
18                                                             18   EXAMINATION BY MS. DAVIS:
19                                                             19       Q. All right. Mr. Stokes, I represent the federal
20                                                             20    defendants in this action, so I represent the
21                                                             21    United States. And we're going to be asking you some
22                                                             22    questions about the case that you filed.
23                                                             23          Have you ever been deposed before?
24                                                             24       A. No. This is my first time.
25                                                             25       Q. Okay. So I'm going to give you some


                                                      Page 6                                                                  Page 8
 1                            EXHIBITS
                                                                1    information about a deposition to start out with. Let
 2                         EASTON STOKES
                                                                2    me know if you have any questions.
 3    Number                Description            Page
                                                                3          First, and most importantly, we need verbal
 4                     (No exhibits marked.)
                                                                4    answers because the court reporter is recording this.
 5
                                                                5    That means no nods or head shakes because they can't be
 6                                                              6    recorded.
 7                                                              7      A. Okay.
 8                                                              8      Q. Do you understand?
 9                                                              9      A. I do.
10                                                             10      Q. In addition, please say "yes" or "no" as
11                                                             11    opposed to "uh-huh" or "huh-uh," again, so that the
12                                                             12    court reporter can record it.
13                                                             13      A. Yes, I understand.
14                                                             14      Q. Okay. Also, we can't speak at the same time,
15                                                             15    so please wait until you're sure I've completed the
16                                                             16    question before you respond. It's okay if you ask for
17                                                             17    clarification or if you pause before answering.
18                                                             18      A. Okay.
19                                                             19      Q. Also, it's okay to say "I don't know" or "I
20                                                             20    don't have an opinion," but I am entitled to your best
21                                                             21    recollection of the events.
22                                                             22      A. Okay.
23                                                             23      Q. Do you understand?
24                                                             24      A. I do understand, yeah.
25                                                             25      Q. Thank you. While we're not in a courtroom and


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 1   this situation seems informal, the deposition is under              1   timeline, I could ask for information as far as
 2   oath; therefore, it's the same testimony in a courtroom             2   clarification of the question and what's already on the
 3   and you are required to tell the truth.                             3   record, I believe was available.
 4         Do you understand?                                            4     Q. Okay. I'm just going to say you don't have
 5     A. I do understand, yes.                                          5   to -- please don't have any communication between you
 6     Q. Okay. Your attorney or the other attorneys in                  6   and your attorney. You're not required to answer that.
 7   this deposition may object to a question. Even if                   7          MS. DAVIS: And, Tim, we will not construe that
 8   there's an objection, you may still answer the question.            8   as any waiver of the privilege, okay?
 9   The objection will just be recorded in the transcript.              9          MR. KELLY: Absolutely.
10     A. Okay.                                                         10   BY MS. DAVIS:
11     Q. Do you understand?                                            11     Q. Have you spoken to anyone else about your
12     A. I do understand, yes.                                         12   deposition who wasn't your attorney?
13     Q. Okay. Also, if you don't ask me to clarify, I                 13     A. No.
14   will assume that you've understood the question and that           14     Q. Okay. Have you spoken to anybody else about
15   your answer is based on a full understanding of my                 15   this lawsuit?
16   question.                                                          16     A. Yes, I have.
17         Does that make sense?                                        17     Q. Who? Who did you speak to?
18     A. That does, yes.                                               18     A. Friends and family. I haven't kept this a
19     Q. Okay. We can take breaks during the day. If                   19   secret.
20   you need to take a break, just let us know. However, we            20     Q. Okay. What sort of things have you discussed
21   can't take a break when a question is pending.                     21   with your friends and family about this lawsuit?
22   Therefore, if I or one of the other attorneys ask you a            22     A. Just that it was happening. And there was a
23   question, you need to answer it before requesting a                23   newspaper article in the Mercury News, and I shared that
24   break.                                                             24   with my friends and family. Not everybody but privately
25         Does that make sense?                                        25   with certain family members and friends.


                                                           Page 10                                                                  Page 12

 1     A. That does, yes.                                                1     Q. There was an article in Mercury News about this
 2     Q. Okay. Do you feel as if you're able to                         2   particular lawsuit?
 3   understand questions and respond to them today?                     3     A. Yes, there is.
 4     A. Yes, I am.                                                     4         MR. KELLY: Ms. Davis --
 5     Q. Okay. And this next question, this is a                        5   BY MS. DAVIS:
 6   standard question that we ask. This is not specific to              6     Q. Do you remember when that article was?
 7   you or your circumstances and meant to imply anything.              7     A. I believe August of 2019.
 8   It's just to make sure the deposition is a good one.                8     Q. Thank you. Did you ever discuss this lawsuit
 9          Have you taken any drugs or alcohol within the               9   on social media?
10   last 24 hours, including prescription drugs?                       10     A. Never. No.
11     A. No, I have not.                                               11     Q. Never? Okay.
12     Q. Okay. Anything else that might impair your                    12         And can you tell me -- outside of
13   ability to answer questions truthfully and fully today?            13   communications with your attorney, which is privileged,
14     A. No.                                                           14   can you please let me know anything else you've done to
15     Q. Okay. Thank you.                                              15   prepare for this deposition?
16          Did you speak with anybody to prepare for                   16     A. I Googled it just to see what the rules are,
17   today's deposition?                                                17   and that was about it.
18     A. Very little, but yes. I talked to my attorney,                18     Q. You mean Googled the rules for a deposition?
19   Tim Kelly.                                                         19     A. Yes.
20     Q. Okay. So you don't have to give me any of the                 20     Q. And do you have any questions about those rules
21   content of the communications between you and your                 21   before we proceed?
22   attorney. Did you review -- but did you review any                 22     A. I do not, no.
23   documents with your attorney?                                      23     Q. Okay. And just so we have this, can you please
24     A. I did not. I was told that they would be on                   24   state your full name for the record and spell it?
25   the record, and if I didn't understand the exact                   25     A. Easton Atwood Stokes, E-a-s-t-o-n A-t-w-o-o-d


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 1 friend's mom and my friend's dad as to I'm not doing              1   the adrenaline rush of just getting into a car accident.
 2 well and I need help.                                             2         I remember that I didn't even react, and that's
 3       And could you repeat the question? I'm not                  3   when it seemed like something was wrong. I was
 4 sure if I'm getting off topic.                                    4   completely just unresponsive to that level of danger.
 5    Q. No, it was fine. And we'll come back to that,               5     Q. So you were unresponsive, but it seems like you
 6 but let me just confirm one thing.                                6   have a very clear memory of exactly what happened?
 7       Why did you take the mushrooms on Friday night?             7     A. I remember the car accident, yes, but I
 8 Do you recall that?                                               8   wouldn't describe -- I did not have a very clear memory
 9    A. Yes. It seemed like it would be fun. I didn't               9   of after Friday when I stopped sleeping and not feeling
10 realize how serious and how scary those are. And it              10   myself. I would describe my -- I wouldn't describe my
11 just seemed like a fun thing to do.                              11   memory as very clear. I have good memories of certain
12    Q. Were you -- were your friends, did they                    12   pieces, but when I stopped sleeping, my memory -- a lot
13 regularly ingest mushrooms?                                      13   of my -- I became -- things became much more unclear.
14    A. This was -- it was more of like a house party.             14     Q. But you remember this incident on Saturday
15 And this wasn't my close friends. I didn't do this with          15   night?
16 my close friends. This would have been a house party,            16     A. Yes, I do. Yes.
17 and it was a big party and it just was going around, and         17     Q. And had Donny Barker, is that the -- is that
18 it was like, oh, cool, I can handle that, I'll try that.         18   your friend?
19 And that was really scary. It was a really bad decision          19     A. Yes.
20 and quite terrifying, to be honest.                              20     Q. Had he used alcohol or any drugs during this
21    Q. Did any --                                                 21   incident at Bodega Bay?
22    A. Go ahead.                                                  22     A. Donny Barker, I don't -- he was not in the car
23    Q. Did your friends take the mushrooms as well?               23   when we went out to the beach. It was James Cardwell
24    A. No, they did not. Not my close group of                    24   was driving. Micah Black was in the car, me, Jonathan.
25 friends. It was a bigger house party. And some people            25   I believe there were five of us that went to that --

                                                         Page 102                                                                   Page 104

 1 were doing it and I'd say most people were not.                   1 were there in that minor car accident.
 2   Q. What about any of the friends who went to                    2   Q. Okay. Is there a reason that Donny Barker
 3 Bodega Bay?                                                       3 wasn't there?
 4   A. They -- none of them had mushrooms that night.               4   A. He was doing something else.
 5 I don't recall who was even there at that house party             5   Q. Okay. All right. So now let's go to Monday.
 6 that night.                                                       6 It was Nancy Barker who drove you to Kaiser?
 7   Q. Had the people that you were with when you                   7   A. Yes. It was Nancy that drove. There was
 8 drove to Bodega Bay, had any of them ingested alcohol?            8 also -- that would have been Mike O'Brien. Mike
 9   A. We -- not before, but I believe some of them                 9 O'Brien's also -- we have the same half-sister. My
10 were drinking beer when we got there. The driver was             10 oldest sister Christine is my half-sister. We share the
11 sober. I hadn't drank anything that day and I didn't             11 same mother. And then that -- and we've been friends
12 drink while we were there, but I believe some of my              12 for a long time. Christine's father, Brendan O'Brien,
13 friends were drinking when we got there.                         13 is the father of Mike O'Brien. So he's not my family
14   Q. You said you had gotten into a minor accident               14 relative, but he is a good friend of mine.
15 on the way there. What happened with that?                       15        So Nancy was driving, Micah Black was there,
16   A. Yes. One second.                                            16 Mike O'Brien was there, me. I think I have that all.
17        It was on Highway 1 right through the town of             17 And Donny drove with us then as well.
18 Bodega Bay and there's a hairpin left-hand turn. And             18   Q. Donny drove with you where?
19 the driver took it too fast. I was in the passenger              19   A. To Kaiser Hospital.
20 seat closest to the impact, and we -- he applied the             20   Q. Why did they all come with you to Kaiser?
21 brakes when he shouldn't have and slid into the                  21   A. It was to be supportive, to be comforting, and
22 guardrail and lifted the car up a little bit. I was              22 to be around me. I was scared and didn't really have a
23 right there in the driver's seat or the passenger -- I           23 good perspective of reality. I was in really a bad, a
24 was a front passenger in the car and everybody else was,         24 very challenging emotional state. I didn't really
25 like, pretty concerned and scared and getting through            25 understand what was going on. I just knew that I wasn't


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 1   well, I wasn't sleeping, and I was scared. So my                      1   decisions for you?
 2   friends were very supportive and they all helped me                   2     A. I was -- it was more of a process I believe
 3   through this process.                                                 3   where it was, hey, this is what happened, are you okay
 4     Q. So who did you meet with at Kaiser?                              4   with this? Yes. There's nowhere for you to stay here
 5     A. I don't recall exactly who I met. I remember                     5   and get help and get treatment. Where there is help and
 6   filling out some questionnaire in the very beginning,                 6   treatment is at Oakcrest. Are you willing to go to
 7   but I don't have a very clear memory of my -- of the                  7   Oakcrest? Yes.
 8   transfer of this. I remember some sort of inpatient                   8          And the hospital provided an ambulance for me
 9   that questioned, but I don't -- I was really exhausted                9   to get there. We had just driven from Occidental to
10   and out of it.                                                       10   Santa Rosa which is probably 16 miles, I'm guessing.
11          I felt safe -- I felt more safe just by being                 11   But we made it a pretty good distance with private
12   in that environment where there was professional care,               12   driving getting there voluntarily. And once I was
13   but I -- could you rephrase that question or repeat the              13   there, it was -- the professional way to get from Kaiser
14   question?                                                            14   to get treatment at Oakcrest was in an ambulance.
15     Q. Who did you meet with at Kaiser?                                15     Q. Okay. I just want to clarify. So agreeing to
16     A. I'm not 100 percent sure. I don't know how the                  16   something is very different from giving up your rights
17   inpatient process went.                                              17   to make decisions, and I think the two are getting
18     Q. Was this a hospital?                                            18   conflated. So I want to clarify with you your
19     A. Yes.                                                            19   testimony.
20     Q. And what happened after you arrived at Kaiser?                  20          You stated you gave up your rights to make
21     A. I was there for a while. My friends were there                  21   decisions; is that correct?
22   with me. And I ended up getting transported from                     22     A. I did. I believe it was either here at Kaiser
23   Kaiser, voluntarily transported with consent. They                   23   or it was at Oakcrest, but I believe it was at Kaiser.
24   wasn't -- there wasn't a service where I could get --                24   That's when I gave up my decision to make -- my consent
25   I'm guessing on that part as far as why I didn't just                25   to make decisions for me. I believe that's when I gave


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 1   stay there. I don't think they have a psychiatric ward,               1   it to Nancy Barker.
 2   and it was clear --                                                   2      Q. And do you recall signing a document to that
 3     Q. I don't --                                                       3   effect?
 4     A. -- to everybody --                                               4      A. I do. Everything's a little bit spotty. I'm
 5     Q. I don't need you to speculate as to their                        5   not sure if this was at Kaiser or at Oakcrest, but I do
 6   decision. I just want to know what happened from your                 6   recall signing documents to have Nancy Barker make
 7   perspective.                                                          7   decisions for me.
 8     A. From there I gave up my rights to make                           8      Q. Do you recall signing documents at both places?
 9   decisions, and I believe it was Nancy Barker who was                  9      A. I do not. I'm not certain if it was at Kaiser
10   talking with the nurses as to what's the best course of              10   or if it was at Oakcrest.
11   action. I needed help. I needed professional care.                   11      Q. Could it have been both?
12   And it wasn't an option -- it wasn't a good decision for             12      A. I don't know how that works. So I would say it
13   me just to go home. There was nowhere else for me to                 13   could have, but I'm not -- I don't know.
14   go. I needed medical treatment. And I voluntarily went               14      Q. And as of today do you have records from either
15   to Kaiser in an ambulance, and that's when I was                     15   place?
16   declared a 5150.                                                     16      A. I do have records from Kaiser, yes. I
17     Q. But you also said you gave up your rights to                    17   requested my complete -- all of the medical records that
18   make decisions?                                                      18   exist. And I have -- I did get that and I'd be willing
19     A. Yes. I wasn't -- I was very consenting to this                  19   to share that. It's a file. I'd be willing to show it,
20   process. I didn't know what was real, what wasn't real.              20   share that.
21   I was scared and I trusted everybody that was around me              21          MR. KELLY: Yeah.
22   to make decisions for me.                                            22   BY MS. DAVIS:
23     Q. Okay. So if you trusted other people to make                    23      Q. When did you get those?
24   your decisions and you gave up your rights to make                   24      A. That was maybe a week ago.
25   decisions, it seems that other people were making the                25      Q. Okay.


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 1         MS. DAVIS: Yeah, we can talk about this time,                    1   and I remember just having a casual conversation with
 2   Tim, but these should probably be produced pursuant to                 2   the EMT.
 3   the judge's order.                                                     3     Q. Okay. What was -- do you recall what you
 4         MR. KELLY: Absolutely. I haven't even had a                      4   discussed?
 5   chance to review them, but I will certainly turn over                  5     A. It was basic -- I think he was just keeping me
 6   what I have.                                                           6   engaged with the weather and the day and just -- I think
 7         THE WITNESS: What happened is I sent you the                     7   he was just being professional as to keeping me engaged
 8   link but it wasn't able to because it was                              8   with the situation as far as -- I don't recall anything
 9   password-protected.                                                    9   specific. I don't think it was an in-depth
10         MS. DAVIS: I'm sorry. This is attorney-client                   10   conversation. It was more just like, hey, how are you?
11   privilege, and it's really risky for us to have you talk              11   I'm guessing at this point, but I remember it was a very
12   about stuff.                                                          12   casual basic conversation just to get me there.
13         MR. KELLY: Just so I won't interrupt, I will                    13     Q. And do you recall what treatment you received
14   certainly provide them to you. I haven't even seen them               14   while you were at Oakcrest?
15   myself, but we are in the process of trying to get                    15     A. What do you mean by "treatment"?
16   medical records.                                                      16     Q. You were there 16 days; is that right?
17         MS. DAVIS: Okay. Given that, I just want to                     17     A. Yes.
18   put this on the record for at least the federal                       18     Q. So how about -- we'll be more general.
19   defendants. Jerry, you can chime on if you want, but I                19         What happened while you were there?
20   think that we should probably reserve some time from                  20     A. Okay. So I remember getting there and being in
21   this deposition to go over any issues that might be --                21   a room and being very confused and disoriented. And
22         MR. KELLY: Absolutely.                                          22   they gave me some sort of sedative, and I just fell
23         MS. DAVIS: Because these issues go directly to                  23   asleep for about -- I don't recall, 72 hours of just
24   the issues in this lawsuit that Judge Alsup has asked us              24   being asleep. And when I woke up I was confused as to
25   to explore, we may need to question your client further.              25   how -- I asked what day it was. Like, what day is it?


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 1   So we may need to reserve some time.                                   1   What time is it? What's happening? I was surprised
 2           MR. KELLY: Absolutely. I think that's a very                   2   that it had been three days.
 3   good idea.                                                             3      Q. Okay. What happened --
 4   BY MS. DAVIS:                                                          4      A. Sorry, someone was in the background from your
 5      Q. So you've gotten your medical records from                       5   TV.
 6   Kaiser, which is great. Have you gotten other paperwork                6      Q. Sorry.
 7   or medical records from Oakcrest?                                      7      A. That's all right.
 8      A. I have not, no.                                                  8      Q. There are multiple people teleworking at our
 9      Q. Okay. In her declaration Nancy Barker spoke --                   9   house. So sorry about that.
10   states that you went into the evaluation interview                    10      A. No worries.
11   yourself. Do you recall what was discussed in that                    11          So I recall -- once I came to, I recall it was
12   evaluation interview at Kaiser?                                       12   having a bunkmate, a roommate in a small room. There
13      A. I cannot recall this part.                                      13   were no doors. I remember eating and having meals. I
14      Q. Okay. Do you --                                                 14   remember being on Zyprexa. There's no more sedative
15      A. I don't remember. Everything is really blurry.                  15   after that initial period. I remember, maybe five or
16   I'm on three days of maybe a couple hours of sleep. I'm               16   six days into it, just feeling restless and needing to
17   somewhat -- I remember being relieved to be in a place                17   move around.
18   where I felt like I was going to get care. But I don't                18          So I went for -- every time they let me outside
19   recall that process, no.                                              19   I would go for a run on the perimeter of Oakcrest's
20      Q. All right. So who took you to Oakcrest?                         20   facilities. It was a really beautiful outdoor setting,
21      A. From Kaiser to Oakcrest I was transported in an                 21   the oak trees and nice grass that time of the year, and
22   ambulance. I remember sitting in the back and having a                22   I remember just running as much as I could while I was
23   conversation with the EMT. I was sitting in their                     23   outside or sitting in the sun.
24   little jump seat. I was not like gurneyed down and out                24          But I remember whatever medication -- it was
25   of it. I was sitting in the back part of the ambulance,               25   Zyprexa. Basically I went in at probably 145 pounds and


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 1   I left at about 170 pounds. And when I was running I                   1   long. And I had really good friends that would visit
 2   wasn't really able to sweat, and I remember that was                   2   me, but that was a real -- that was a big challenge, to
 3   weird, go for a run even with the jacket on and I wasn't               3   kind of face the herd and be a part of school. And I
 4   able to sweat.                                                         4   didn't get bullied or made fun of, but it was really --
 5          I recall earlier on having a lot of friends                     5   I was on guard. It wasn't as friend -- I wasn't having
 6   coming to visit me. They actually -- and there's a                     6   as much as a good time. It was really a lot of work,
 7   weird -- it's a little bit of what I would perceive as a               7   and I had really good friends that would help me through
 8   little bit jealousy from other people. It was so much                  8   that process as far as just being emotionally supportive
 9   commotion. I had a lot of school friends come and visit                9   to get back to school and finish school.
10   me, parents' friends, and they started to have to make                10     Q. Was there a time during those 16 days where you
11   rules as to how to have guests.                                       11   thought that you didn't belong there?
12          And they would have a group of friends come in.                12     A. No. It was hard, but it wasn't -- I wanted to
13   There was a line of really close people. My                           13   graduate, and I really wanted to graduate and just
14   ex-girlfriend Heather Bowen came in to see me there. I                14   continue. I thought that giving up and quitting would
15   remember Jon Kincheloe, who's one of my best friend's                 15   have really been have a negative impact for the rest of
16   father, he came and visited and we chatted outside.                   16   my life. If I wasn't able to rise to that challenge
17          I remember doing little projects to keep people                17   then, then it seemed like an obstacle that I really had
18   engaged, little groups, and this is not with the guests               18   to do.
19   but with the -- not with my friends but with the people               19     Q. So when you say graduate, did the therapist
20   that were inpatient -- of doing group activities, having              20   that you worked with talk about this in terms of
21   circle conversations or drawing or doing a music thing.               21   graduating from a program while you were there?
22          I remember this was also a facility that                       22     A. No. I didn't have any therapy. It was
23   would -- people that were mentally -- I don't even know               23   graduating from high school to get my diploma.
24   how you'd say that, but people that were waiting to go                24     Q. Oh, okay. That's not what I'm asking about.
25   to court but not capable of staying in a jail also                    25         Was there any time when you were at Oakcrest


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 1   stayed here. And my bunk -- my roommate was waiting to                 1   where you thought you didn't belong there?
 2   go to see the judge, and he was a Sonoma County -- going               2      A. Oh, that I didn't belong at Oakcrest?
 3   to see the Sonoma County judge. Very friendly.                         3      Q. Yeah.
 4          I remember one time there was -- there was a                    4      A. No. I knew that something was wrong. I didn't
 5   few scary incidents. There's no doors. I remember at                   5   know what it was and this was the place to get help. So
 6   one point waking up for just no reason, and there was an               6   I trusted the professionals to -- no, I felt like I was
 7   older woman with toothpaste dripping down her face and I               7   really out of it, and I was still scared of that
 8   was just, like, confused. And she was saying weird                     8   incident where I didn't -- no, I felt like I needed
 9   stuff to me while I was sleeping. And that's when I                    9   help.
10   went and got help from staff, and that was really a                   10      Q. Okay.
11   frightening part.                                                     11      A. I didn't fit in with your average -- I
12          I remember about maybe -- it might have been a                 12   definitely stood out like a sore thumb compared to the
13   week or a week and a half. I remember the last week                   13   other people that were getting medical treatment. There
14   that I was in there, it was the student -- my student                 14   was one other person that was about my age, but other
15   counselor at El Molino High School -- would bring me                  15   than that, almost everybody else was much older.
16   homework assignments or send homework assignments with                16          Did I answer that well enough?
17   my friends, so I was able to somewhat stay on focus.                  17      Q. No, you answered that fine.
18   And they're really basic simple, like, worksheets and                 18          Did you ever ask if you could leave the
19   read this and answer these questions with history and a               19   facility?
20   little bit of math and a little bit of science. It was                20      A. No. I do remember -- I don't remember how far
21   basically to keep me in the school program.                           21   into it. It might have been seven days, it might have
22          And I was -- when I did get out, I was able to                 22   been ten days. I'm not sure how long, but I do remember
23   transition right back to El Molino High School. And                   23   an evaluation with a doctor and he let me know that I
24   that was a really challenging time, to have people know               24   could petition to get out. And I asked him, I said, "I
25   that I had been in the hospital and been gone for so                  25   don't really feel comfortable making this choice myself.


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 1   What are your thoughts? Am I better?"                                  1   room right by the junior college that was kind of
 2         And he said, "No. I think you need to stay                       2   setting me up for college. I rented a room from him.
 3   additional to get more treatment."                                     3   And that was, like, okay, what are we going to do right
 4         So I never once questioned getting out or                        4   now and what are we going to do next. And it seemed
 5   leaving. I felt like I needed help. And the only way                   5   like that was the best option for me, was to have my own
 6   to get it was to follow the advice of the doctors.                     6   space and finish high school and go to college from
 7     Q. So the doctor said that you would have to                         7   there.
 8   petition to get out?                                                   8      Q. So when you say "it was decided," who decided
 9     A. He said -- I don't recall -- I don't know how                     9   this?
10   that works, but he said there was an opportunity to try               10      A. I was talking with Nancy Barker, my father, my
11   to get out if I wanted to. And I left that decision --                11   sister, and Gabe. All these people would come and visit
12   basically he didn't make the decision for me, but I                   12   me. In the beginning there was no -- it was more get
13   asked him, like, "Am I better? What -- am I better?"                  13   help and get treatment. But towards the end I believe
14         And he said, "No, I think you need more                         14   it was like, what is he going to do? Where is he going
15   treatment before getting out of here." So I opted to go               15   to go? So it was brought up to me what are my best
16   with the doctor's recommendation.                                     16   options, and I went with what I thought was the best
17     Q. But the doctor didn't indicate that you were                     17   option for my future.
18   free to leave at any time?                                            18      Q. Were any of the doctors involved in this
19     A. There was at least that one time that I could,                   19   decision-making process?
20   I did have the option to -- it seemed like there was an               20      A. No, I don't believe so. I do believe, though,
21   option to leave, yeah.                                                21   when you leave this hospital I don't think they want
22     Q. But the option -- you specifically said that                     22   someone to just go out on the street and leave. I
23   you would have to petition to leave?                                  23   believe the hospital wanted to know where I was going.
24     A. I don't remember 100 percent. I don't remember                   24      Q. Okay.
25   exactly how this works, but there was -- I do recall an               25      A. I believe. I could be wrong on that. That's


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 1   opportunity to either leave or get out, and I remember                 1   just to the best of my memory.
 2   talking -- basically going with what the doctor                        2     Q. So before you were discharged, the best of your
 3   recommended. And I don't know if it would have been --                 3   memory is the hospital wanted to know where you were
 4   I didn't have anywhere to go.                                          4   going?
 5     Q. You couldn't go back --                                           5     A. Yes.
 6     A. Sorry. I'm stalling out a little bit.                             6     Q. And you were 18 years old at this time; right?
 7         I don't -- there was an opportunity to try and                   7     A. Yes, I was.
 8   leave. I don't know if it would have been walk out or                  8     Q. Did you receive any sort of therapy while you
 9   don't walk out. But there was an opportunity to either                 9   were at Oakcrest?
10   leave or to try to get out, but in my mind I didn't have              10     A. There was like group -- there's no one-on-one.
11   anywhere that was ready to go. And I didn't -- I wanted               11   To the best of my knowledge, I don't believe there was
12   to leave that up to the doctor's advice as far as -- I                12   like individual therapy there. It was more of like
13   didn't know if I was better or not better.                            13   group sessions and doing different art or music or
14     Q. Were you unable to stay with the Barkers any                     14   talking in a circle. I remember talking in a circle
15   longer?                                                               15   with a pretty large group of maybe ten people. To the
16     A. After it was decided -- I did not go move in                     16   best of my memory, I don't recall any individual
17   with the Barkers afterwards, no.                                      17   one-on-one therapy. But I could be wrong about that.
18     Q. Why not?                                                         18   I'm not 100 percent certain.
19     A. It was a very -- it was decided that it                          19     Q. So group therapy; is that right?
20   wasn't -- I guess to break routine and not just jump                  20     A. Yes. That was the main -- that was their main
21   back into whatever my life was. It was almost the end                 21   method.
22   of high school, and we had talked about if I could move               22     Q. Did you have any individual therapy that you
23   in with my father or what the best option was.                        23   recall?
24         And I ended up moving in with Gabe Chestly, who                 24     A. No. I had -- upon leaving, I was connected
25   was my older sister's boyfriend, and he had an extra                  25   with a psychologist at Kaiser.


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 1     Q. Okay. And did you -- you said that you                            1   forward.
 2   received Zyprexa while you were there?                                 2     Q. Do you happen to know -- and don't discuss this
 3     A. Yes.                                                              3   with your attorney on the record, but do you happen to
 4     Q. Did you receive any other drugs?                                  4   know if these Kaiser records include your Oakcrest
 5     A. I believe when I first got in there, I was                        5   records?
 6   given a sedative. But after that I believe it was just                 6     A. I believe that they would be different. I
 7   Zyprexa as the follow-up to that. And like I said,                     7   think that they were two separate entities. And when
 8   whatever the sedative was, it put me out for nearly                    8   Kaiser sent me to Oakcrest, it was them passing off the
 9   three days. I'm guessing that I woke up and I had water                9   treatment to a facility that would treat me. And then
10   or food, but I really don't recall my first three days                10   they were -- they must have been in communication
11   there. I just slept, yeah. So that's my memory, I                     11   because I was directly linked up with a psychologist
12   slept for about three days straight.                                  12   from Kaiser.
13     Q. Okay. Did you ever request a court hearing                       13         MS. DAVIS: Okay. It's noon now, and we've
14   while you were there?                                                 14   been going pretty straight since 9:00. So I think we
15     A. I did not.                                                       15   should break for lunch right now, and then we'll come
16     Q. Why not?                                                         16   back and we may have some more questions. And Mr. Yen's
17     A. I believe that to request a court hearing would                  17   going to have some questions for you as well. But if
18   be to get out, but I didn't have any interest in just                 18   everybody agrees, I think this is probably a good time
19   getting out. I wanted to get better. So it just didn't                19   for us to take a break. It's three full hours for the
20   seem -- it didn't make sense to try to get out. I knew                20   witness and the court reporter at this point.
21   that I needed help.                                                   21         Madam Court Reporter, how long a break would
22     Q. So but was it your understanding that to get                     22   you like?
23   out, you would have to have a court hearing or something              23         THE REPORTER: I'm good with 30 or 45 minutes.
24   like that to get out as opposed to just walking out the               24         MS. DAVIS: Either is fine with me. Does
25   door, you're 18, you're an adult, you can leave?                      25   anyone have a --


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 1     A. Yeah. I believe there was a process. My                           1         MR. KELLY: I have a slight conflict at
 2   memory to knowing it then, I believe it was explained to               2   1 o'clock for about 15 minutes, so I don't know if
 3   me that there would be a process to make an appeal of                  3   there's a way to work around that or step aside. I
 4   some sort, but to get out wasn't just walking out the                  4   don't mean to minimize it. That's a sort of long lunch
 5   front door.                                                            5   break if we came back at 1:15.
 6     Q. So you did understand that you would have to                      6         MS. DAVIS: Should we maybe come back at 12:30
 7   make some sort of appeal to get out of Oakcrest?                       7   and take another break at 1:00? I agree, I don't want
 8     A. Something would have to happen that was --                        8   to take that long a break. Does that work?
 9   yeah. I'm a little bit -- at that time I didn't know                   9         THE WITNESS: Yeah. That works for me.
10   exactly how that all worked. But I knew that walking                  10         MS. DAVIS: Does that work for you, Madam Court
11   out the front door was not really an option.                          11   Reporter?
12     Q. That wasn't an option. Okay.                                     12         THE REPORTER: Yes.
13         And when you left Oakcrest, did you request                     13         MS. DAVIS: Okay. Thank you.
14   your medical records?                                                 14         (At 11:59 a.m. a lunch break was taken until
15     A. I did not, no.                                                   15         12:32 p.m. of the same day.)
16     Q. Why not?                                                         16         (Nothing omitted nor deleted. See next page.)
17     A. I don't -- I went -- I was working directly                      17
18   with Kaiser. And I don't know -- I don't know how that                18
19   could have -- at the time I don't know how that could                 19
20   have helped me deal with it. My focus was to graduate                 20
21   high school, to get into the junior college. But I                    21
22   guess just with hindsight, I guess that would make                    22
23   sense. I didn't know the place was going to close down,               23
24   I didn't know the records would be helpful in the                     24
25   future, and I was trying to do the best I could moving                25


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                   CERTIFICATION OF FIREARMS PROHIBITION
I, Angel Tuyen, do certify and attest under penalty of perjury that I am the legal custodian of
records in the Mental Health Firearm Prohibition System maintained by the California
Department of Justice (the Department), Bureau of Firearms. This file contains records of
individuals lawfully prohibited from possessing, receiving, owning, or purchasing a firearm.


On July 31, 2020, a diligent search of the Mental Health Firearms Prohibition System was
conducted for STOKES, EASTON (DOB:                   ).

The search revealed the following records:

                            Report Number           Date Prohibited
                            702063818               03/12/2002



I certify that the attached records are complete, true and exact copies. This certification was
prepared by personnel of the Department in the ordinary course of business on the date stated
above.




                                              ANGEL TUYEN
                                              Custodian of Records
                                              Bureau of Firearms




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                                       CONFIDENTIAL                          AG_Stokes-000001
                                                                                    Page 1 of 1
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 4W1WGH9JQ4C.IQ

 RE: QP.FCN/1860208400205                         DATE: 2020-07-31 TIME: 14:36:17

 ******************** FIREARMS PROHIBITION SUMMARY *********************
 FCN/1860208400205
 PHN/702063818        TYP/M
 ENT/2                                 NRI/1519750671
 NAM/STOKES,EASTON                     DOB/
 SEX/M   RAC/W   HGT/      WGT/      HAI/      EYE/      POB/
 **************************PROHIBITION REPORT***************************
 ORI/49P001 - SUTTER PSYCHIATRIC UNIT   OCA/1029422
 DATE RECEIVED/03-25-2002
 DATE PROCESSED/03-25-2002
 DATE PROHIBITED/03-12-2002
 PROHIBITION/5250 - 5250 WIC - DTSO OR GRAVELY DISABLED
 COM/707 5654980 NEW FORM
                    PROHIBITION EXPIRATION/LIFETIME

                    *    *       *   END OF MESSAGE   *   *   *




                                           CONFIDENTIAL               AG_Stokes-000002
https://leaweb.ext.doj.ca.gov/                                                       7/31/2020
                                                                                Page 1 of 1
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 4W1WGTAR66O.IQ
 RE: R.QDP.CA0349425.NRI/1519750671

 CHECKING NCIC

                    *    *       *   END OF MESSAGE   *   *   *

 4W1WGTAR66O.IJ
 CA0349459
 ACCEPT MKE/QDP
 DATE: 07/31/20 TIME:17:43
 A G E N C Y   N I C S   I N D E X   D I S P L A Y   R E S P O N S E
 =======================================================
 NRI: 1519750671    STATUS: ACTIVE    EXPIRATION DATE: N/A
 PCA: D - ADJUDICATED OR COMMITTED MENTAL DEFECTIVE
 NAM: STOKES, EASTON
 SEX: M RAC: W
 HGT: 000 WGT: 0 EYE: XXX HAI: XXX
 POB: UNKNOWN PLACE OF BIRTH SOR: N/A
 RTV: 0 SST: N/A
 SOC: N/A
 SMT: N/A
 AKA: N/A
 MNU: N/A
 DOB:

 MIS: N/A
      SST:    N/A
      RTV:    N/A
      UCN:    N/A
      SID:    N/A

 ORI: CA0349418    OCA: 1029422
 DNY: N/A
 DATA-SRC: CA
 ARI:
 CREATED-BY: CA0349418                     CREATED-DATE: 10/02/2007
 UPDATED-BY: CA0349418                     UPDATED-DATE: 10/02/2007




                                           CONFIDENTIAL               AG_Stokes-000003
https://leaweb.ext.doj.ca.gov/                                                   7/31/2020
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                                 CERTIFICATE OF SERVICE
Case Name:        Easton Stokes v. US DOJ, et al          No.    3:19-cv-04613-WHA

I hereby certify that on April 29, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
  DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA’S NOTICE OF
  MOTION; MOTION FOR SUMMARY JUDGMENT; POINTS OF AUTHORITIES IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT
  DECLARATION OF GILBERT MAC IN SUPPORT OF DEFENDANT CALIFORNIA
   ATTORNEY GENERAL ROB BONTA'S MOTION FOR SUMMARY JUDGMENT
      [PROPOSED] ORDER GRANTING DEFENDANT CALIFORNIA ATTORNEY
          GENERAL ROB BONTA’S MOTION FOR SUMMARY JUDGMENT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 29,
2021, at Sacramento, California.


                Lindsey Cannan                                  /s/ Lindsey Cannan
                   Declarant                                          Signature

SA2019104336
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